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                         UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF WISCONSIN
                                         :
Lisa Gieringer,                          :
                                         :
                                           Civil Action No.: 3:20-cv-921
                    Plaintiff,           :
        v.                               :
                                         :
Capital Link Management LLC; and DOES 1- :
                                           COMPLAINT AND
10, inclusive,                           :
                                           DEMAND FOR JURY TRIAL
                                         :
                    Defendants.          :
                                         :

        For this Complaint, the Plaintiff, Lisa Gieringer, by undersigned counsel, states as

follows:

                                         JURISDICTION

        1.      This action arises out of Defendants’ repeated violations of the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), and the invasions of Plaintiff’s

personal privacy by the Defendants and its agents in their illegal efforts to collect a consumer

debt.

        2.      Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.

        3.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that the

Defendants transact business in this District and a substantial portion of the acts giving rise to

this action occurred in this District.

                                             PARTIES

        4.      The Plaintiff, Lisa Gieringer (“Plaintiff”), is an adult individual residing in Land

O’ Lakes, Wisconsin, and is a “consumer” as the term is defined by 15 U.S.C. § 1692a(3).

        5.      Defendant Capital Link Management LLC (“Capital”), is a New York business

entity with an address of 100 Corporate Parkway, Suite 106, Amherst, New York 14226,
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operating as a collection agency, and is a “debt collector” as the term is defined by 15 U.S.C. §

1692a(6).

       6.      Does 1-10 (the “Collectors”) are individual collectors employed by Capital and

whose identities are currently unknown to the Plaintiff. One or more of the Collectors may be

joined as parties once their identities are disclosed through discovery.

       7.      Capital at all times acted by and through one or more of the Collectors.

                     ALLEGATIONS APPLICABLE TO ALL COUNTS

   A. The Debt

       8.      The Plaintiff allegedly incurred a financial obligation (the “Debt”) to an original

creditor (the “Creditor”).

       9.      The Debt arose from services provided by the Creditor which were primarily for

family, personal or household purposes and which meets the definition of a “debt” under 15

U.S.C. § 1692a(5).

       10.     The Debt was purchased, assigned or transferred to Capital for collection, or

Capital was employed by the Creditor to collect the Debt.

       11.     The Defendants attempted to collect the Debt and, as such, engaged in

“communications” as defined in 15 U.S.C. § 1692a(2).

   B. Capital Engages in Harassment and Abusive Tactics

       12.     In late January 2020, Capital contacted Plaintiff in an attempt to collect the Debt.

       13.     During the initial conversation on February 3, 2020, Capital falsely threatened to

sue Plaintiff if the Debt was not paid immediately.

       14.     In an effort to avoid being sued, Plaintiff agreed to pay the Debt. Plaintiff

provided Capital with her bank account information and authorized an automated withdrawal.


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       15.     On February 7, 2020, Capital attempted to withdraw the payment, however the

transaction was blocked by Plaintiff’s bank.

       16.     On February 10, 2020, Capital spoke with Plaintiff and reiterated its threat of

legal action against Plaintiff if the Debt was not paid that day.

       17.     On February 13, 2020, Capital falsely told Plaintiff that the lawsuit was filed and

that Plaintiff’s wages would be garnished. In fact, no such lawsuit has been filed to date.

       18.     In late February 2020, Plaintiff sought services of legal counsel and serviced

Capital with a notice of attorney representation on March 9, 2020.

       19.     Thereafter, Capital continued calling Plaintiff in an attempt to collect the Debt.

       20.     Capital’s actions caused Plaintiff a significant amount of frustration, confusion

and anxiety.


   C. Plaintiff Suffered Actual Damages

       21.     The Plaintiff has suffered and continues to suffer actual damages as a result of the

Defendants’ unlawful conduct.

       22.     As a direct consequence of the Defendants’ acts, practices and conduct, the

Plaintiff suffered and continues to suffer from humiliation, anger, anxiety, emotional distress,

fear, frustration and embarrassment.


                                             COUNT I

         VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                           15 U.S.C. § 1692, et seq.

       23.     The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

       24.     The Defendants’ conduct violated 15 U.S.C. § 1692c(a)(2) in that Defendants

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contacted the Plaintiff after having knowledge that the Plaintiff was represented by an attorney.

        25.    The Defendants’ conduct violated 15 U.S.C. § 1692d in that Defendants engaged

in behavior the natural consequence of which was to harass, oppress, or abuse the Plaintiff in

connection with the collection of a debt.

        26.    The Defendants’ conduct violated 15 U.S.C. § 1692e in that Defendants used

false, deceptive, or misleading representation or means in connection with the collection of a

debt.

        27.    The Defendants’ conduct violated 15 U.S.C. § 1692e(2) in that Defendants

misrepresented the character and legal status of the Debt.

        28.    The Defendants’ conduct violated 15 U.S.C. § 1692e(4) in that Defendants

threatened the Plaintiff with garnishment if the debt was not paid.

        29.    The Defendants’ conduct violated 15 U.S.C. § 1692e(5) in that Defendants

threatened to take action, without actually intending to do so.

        30.    The Defendants’ conduct violated 15 U.S.C. § 1692e(10) in that Defendants

employed false and deceptive means to collect a debt.

        31.    The Defendants’ conduct violated 15 U.S.C. § 1692f in that Defendants used

unfair and unconscionable means to collect a debt.

        32.    The foregoing acts and omissions of the Defendants constitute numerous and

multiple violations of the FDCPA, including every one of the above-cited provisions.

        33.    The Plaintiff is entitled to damages as a result of Defendants’ violations.

                                    PRAYER FOR RELIEF

        WHEREFORE, the Plaintiff prays that judgment be entered against the Defendants:

                   1. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against the Defendants;


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                 2. Statutory damages of $1,000.00 pursuant to 15 U.S.C. §1692k(a)(2)(A)

                     against the Defendants;

                 3. Costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C. §

                     1692k(a)(3) against the Defendants;

                 4. Actual damages from the Defendants for all damages including emotional

                     distress suffered as a result of the intentional, reckless, and/or negligent

                     FDCPA violations; and

                 5. Such other and further relief as may be just and proper.

Dated: October 5, 2020



                                             Respectfully submitted,

                                             By /s/ Sergei Lemberg

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